Case 2:12-md-02323-AB Document 7151-10 Filed 02/13/17 Page 1 of 29




        EXHIBIT G
Case 2:12-md-02323-AB Document 7151-10 Filed 02/13/17 Page 2 of 29
Case 2:12-md-02323-AB Document 7151-10 Filed 02/13/17 Page 3 of 29
Case 2:12-md-02323-AB Document 7151-10 Filed 02/13/17 Page 4 of 29
Case 2:12-md-02323-AB Document 7151-10 Filed 02/13/17 Page 5 of 29
Case 2:12-md-02323-AB Document 7151-10 Filed 02/13/17 Page 6 of 29




         EXHIBIT 1
Case 2:12-md-02323-AB Document 7151-10 Filed 02/13/17 Page 7 of 29
Case 2:12-md-02323-AB Document 7151-10 Filed 02/13/17 Page 8 of 29




         EXHIBIT 2
Case 2:12-md-02323-AB Document 7151-10 Filed 02/13/17 Page 9 of 29
Case 2:12-md-02323-AB Document 7151-10 Filed 02/13/17 Page 10 of 29




         EXHIBIT 3
Case 2:12-md-02323-AB Document 7151-10 Filed 02/13/17 Page 11 of 29
Case 2:12-md-02323-AB Document 7151-10 Filed 02/13/17 Page 12 of 29
Case 2:12-md-02323-AB Document 7151-10 Filed 02/13/17 Page 13 of 29
Case 2:12-md-02323-AB Document 7151-10 Filed 02/13/17 Page 14 of 29
Case 2:12-md-02323-AB Document 7151-10 Filed 02/13/17 Page 15 of 29
Case 2:12-md-02323-AB Document 7151-10 Filed 02/13/17 Page 16 of 29
Case 2:12-md-02323-AB Document 7151-10 Filed 02/13/17 Page 17 of 29
Case 2:12-md-02323-AB Document 7151-10 Filed 02/13/17 Page 18 of 29
Case 2:12-md-02323-AB Document 7151-10 Filed 02/13/17 Page 19 of 29
Case 2:12-md-02323-AB Document 7151-10 Filed 02/13/17 Page 20 of 29
Case 2:12-md-02323-AB Document 7151-10 Filed 02/13/17 Page 21 of 29
Case 2:12-md-02323-AB Document 7151-10 Filed 02/13/17 Page 22 of 29
Case 2:12-md-02323-AB Document 7151-10 Filed 02/13/17 Page 23 of 29
Case 2:12-md-02323-AB Document 7151-10 Filed 02/13/17 Page 24 of 29
Case 2:12-md-02323-AB Document 7151-10 Filed 02/13/17 Page 25 of 29
Case 2:12-md-02323-AB Document 7151-10 Filed 02/13/17 Page 26 of 29
Case 2:12-md-02323-AB Document 7151-10 Filed 02/13/17 Page 27 of 29
Case 2:12-md-02323-AB Document 7151-10 Filed 02/13/17 Page 28 of 29
Case 2:12-md-02323-AB Document 7151-10 Filed 02/13/17 Page 29 of 29
